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BoBBY JoE leTMoRE

Diane Smothers, FPD
Defense Attorney

109 S. High|and Ave., Ste. B-8
Jackson, TN 38301

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on Apri| 27, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & Section MM Conc|uded Numberjs)
18 U.S.C. § 922(9) Convioted Fe|on in Possession of a 01/22/2004 1
Firearm Shipped in interstate
Commerce

The defendant is sentenced as provided in the fo|iowing pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/16/1975 August 10, 2005
Deft’s U.S. Marsha| No.: 19943-076

Defendant’s Nlai|ing Address:
3135 Park Road
Westport, TN 38387

WZ>¢M

S D. TODD
C F UN|TED STATES D|STR|CT JUDGE

August d , 2005

This document entered on the docket sheet in compliance
with Flule 55 and/or 32 [b) FRCrP on

61‘1

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 96 Months as to Count1 ofthe indictment, sentence
to run consecutively with sentences imposed in Carroii County Circuit Court, #990R1324
and Gibson County Circuit Court, #16752..

The Court recommends to the Bureau of Prisons: institution where defendant can

receive long-term substance abuse treatment and counseling and as close to defendants
home as possible

The defendant is remanded to the custody of the United States Niarsha|.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshai

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Case No: 1:050r10011-01-T Defendant Name: Bobby Joe Whitmore Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1 of the indictmentl

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month‘,

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substanoe;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered',

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofhcer;

9. The defendant shall permits probation officer to visit him or her at any time at home or elsewhere and
shall permit coancation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if this judgment imposes a Hne or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release'.

1. The defendant shall participate in a program of testing and treatmentfor drug and/or
alcohol abuse as directed by the probation officer, until such time as the defendant
is released form the program by the probation officer.

2. The defendant shall assist the probation oche in the collection of DNA as directed
by that oftice.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Speciai Assessrnent shall be due immediatelyl

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:05-CR-100]1 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

J ames W. Povveil

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

